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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

  ROBERT MULLIGAN,                                     )
                                                       )
                 Plaintiff,                            )
                                                       )
  v.                                                   ) CAUSE NO. 1:19-cv-01834-TWP-MPB
                                                       )
  THE BOARD OF TRUSTEES OF                             )
  INDIANA UNIVERSITY,                                  )
  KATHRYN CRUZ-URIBE, in her                           )
  official and individual capacities and,              )
  MICHELLE MALOTT, in her official                     )
  and individual capacities.                           )
                                                       )
                 Defendants.                           )

         DEFENDANTS’ COMBINED RESPONSE TO PLAINTIFF’S MOTION FOR
            SUMMARY JUDGMENT AND MEMORANDUM IN SUPPORT OF
             DEFENDANTS’ CROSS-MOTION FOR SUMMARY JUDGMENT

          Pursuant to Rule 56 of the Federal Rules of Civil Procedure, defendants the Board of

  Trustees of Indiana University (the “University”), Kathryn Cruz-Uribe, and Michelle Malott

  (collectively, the “Defendants”) submit the following combined response to plaintiff Robert

  Mulligan’s Motion for Summary Judgment [Dkt. No. 39] and memorandum in support of their

  cross-motion for summary judgment as to all claims asserted by plaintiff Robert Mulligan in this

  lawsuit.

  I.      INTRODUCTION

          “[D]eans do serve at the pleasure of the EVCAA.” -Dr. Mulligan [Ex. 1, Mulligan Dep.

  44:5-8; Ex. 2, September 21, 2017 Mulligan Email.]

          “This letter does not constitute a contract. It is for information only.” [Ex. 1, Mulligan

  Dep., 8:22-25, 9:1; Ex. 5, July 29, 2017 Salary Letter.]




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          This entire case rests on one issue—whether Dr. Mulligan served as dean at the pleasure

  of the University as an at-will employee or whether he had a contractual right to serve as dean

  through the end of the 2017-18 fiscal year.

          Although Dr. Mulligan himself recognized he served as Dean of the School of Business

  and Economics (“SoBE”) at Indiana University East (“IUE”) at the pleasure of Executive Vice

  Chancellor of Academic Affairs Dr. Michelle Malott [Ex. 1, Mulligan Dep. 44:5-8; Ex. 2,

  September 21, 2017 Mulligan Email], and that his 2017 Salary Letter expressly stated it did not

  constitute a contract, he nevertheless now claims the Defendants both committed a breach of

  contract by removing him as dean and violated his due process rights [Dkt. No. 1 ¶ 1]. In fact, the

  University and Dr. Malott had every right to remove Dr. Mulligan as dean for any reason—because

  he served at the pleasure of the University—as all deans do.

          Although Dr. Malott removed Dr. Mulligan only from his administrative position as dean

  (after seven faculty members complained about his leadership skills and the negative culture that

  had festered in the SoBE under his leadership) Dr. Mulligan remains to this day a tenured Full

  Professor of Economics at IUE. Because he served as dean at her pleasure and at the pleasure of

  IUE, it was within Dr. Malott’s authority to remove Dr. Mulligan at any time for any reason (or

  no reason at all).

          Dr. Mulligan brings a breach of contract claim arising out of his removal as dean, arguing

  that he is entitled to continue to receive supplemental pay for an administrative post he no longer

  holds and for services he stopped performing due to his ineffectiveness in that role. However, the

  University did not consent to suit in this Court on the breach of contract claim and therefore has

  immunity under the Eleventh Amendment. Even without immunity, Dr. Mulligan’s claim against

  the University fails because the original appointment letter does not state a definite period of



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  employment; thus, it is not a contract, and Dr. Mulligan’s breach of contract claim must fail.

  Additionally, his subsequent re-appointment letter was even clearer and explicitly stated it was not

  a contract.

          Dr. Mulligan also claims that the University could not remove him as dean without

  affording him due process. Dr. Mulligan is mistaken on both the law and the facts. As explicitly

  contemplated in his original appointment letter and, as admitted by Dr. Mulligan, he served at the

  pleasure of Dr. Malott in his position as dean.1 In other words, Dr. Mulligan’s administrative

  appointment as dean was an employment at will, and “an employee at will has no property interest

  in further employment.” Moulton v. Vigo Cnty., 150 F.3d 801, 804 (7th Cir. 1998) (citing Ind.

  Alcoholic Beverage Comm'n v. Gault, 405 N.E.2d 585, 589 (Ind. App. 1980) (“An employee at

  will is not entitled to the procedural protections . . . attached to a property interest.”)).

          The undisputed evidence shows that none of Dr. Mulligan claims can withstand

  Defendants’ motion for summary judgment. Accordingly, the Court should enter summary

  judgment on all his claims in favor of Defendants.

  II.     STATEMENT OF MATERIAL FACTS IN DISPUTE

          Defendants disagree with Dr. Mulligan’s characterization of the following material facts

  and legal conclusions as unsupported by and contrary to any evidence:

          1.      Dr. Mulligan states that “he was on a 12-month contract instead of a 10-month

  contract, [and his] actual salary as dean was $40,833.33.” [Dkt. No. 40.] Dr. Mulligan further

  argues the July 29, 2017 “continuation letter” renewed and modified his original employment

  contract, extending his deanship to the end of the 2017-18 fiscal year.



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     Dr. Mulligan would like this Court to conveniently ignore his admission as he fails whatsoever
  to address it in his memorandum.


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          Defendants’ Response: First, Dr. Mulligan’s statement that he has an employment

  contract assumes he had a contract and is really just a legal conclusion unsupported by and contrary

  to any evidence. Second, Dr. Mulligan is mistaken. In fact, there was no original employment

  contract for dean. Dr. Mulligan’s Original Appointment Letter explicitly stated that “[s]hould at

  some point in the future [he] no longer serve in the position of dean and return to a faculty position,

  [his] salary would be prorated to a standard ten (10) month faculty appointment.” [Ex. 1, Mulligan

  Dep., 16:2-7; Ex. 3, Original Appointment Letter.] This language made it clear that his removal as

  dean could occur at any time.

          Third, the July 29, 2017 Salary Letter certainly was not intended to and did not renew or

  modify an employment contract for his position of dean. Instead, it merely provided Dr. Mulligan

  with notice of an increase in his salary. A salary increase stated in annual terms is not enough to

  create a contractual employment term. See Bee Window, Inc. v. Turman, 716 N.E.2d 498, 501 (Ind.

  Ct. App. 1999) (“Stating compensation and other benefits in annual terms is both common and

  convenient, but does not necessarily mean that the employment is for a definite period of one

  year.”). Finally, the 2017 Salary Letter included the explicit disclaimer that “[t]his letter does not

  constitute a contract. It is for information only.” [Ex. 1, Mulligan Dep., 8:22-25, 9:1; Ex. 5, July

  29, 2017 Salary Letter.]

          Because there was no employment contract for a definite term for Dr. Mulligan’s

  appointment as dean, there was no breach of contract. Without an employment contract, Dr.

  Mulligan did not have a property right in his continued employment as dean, and thus, there can

  be no due process violation.

          2.     Dr. Mulligan also states that “Malott never gave a reason for [his] removal,” and

  that he “received no negative feedback from Dr. Malott whatsoever prior to his removal as dean.”



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          Defendants’ Response: This is inaccurate. Rather, Dr. Malott met with Dr. Mulligan

  several times in Fall 2017 to discuss his performance and the complaints about his leadership. [See

  Ex. 4, Malott Dep., 44:8-25, 47:17-25, 48:1-15, 49:13-25, 50:1-2 (explaining that she focused their

  meetings on how Dr. Mulligan could fix the culture and issues in the SoBE going forward), 64:3-

  20 (explaining that she spoke with Dr. Mulligan about Dr. Savoy’s complaint); Ex. 1, Mulligan

  Dep., 24:10-14 (admitting that “[Dr. Malott] intimated to me that there were concerns”), 25:1-9

  (“I got the impression that everybody in the school is complaining about me”), 25:25, 26:1-4 (“[Dr.

  Malott] called me to her office to discuss . . . what’s going on in the college”), 27:12-22 (“I had

  the impression there was an investigation. I participated in the investigation, I gave information.”)].

          3.     Dr. Mulligan states that “Malott testified that Tim Scales and other faculty members

  reported that Mulligan discouraged faculty from talking with the chancellors; however, she did not

  bring these concerns to Mulligan until she sent him the addendum to his 2017 performance

  evaluation – several months after she made the decision to remove him from the dean position.”

          Defendants’ Response: This is inaccurate. As explained in detail above, Dr. Malott

  discussed these complaints with Dr. Mulligan prior to his removal as dean and around the time he

  participated in the Title IX investigation. [See Ex. 4, Malott Dep., 44:8-25, 47:17-25, 48:1-15,

  49:13-25, 50:1-2, 64:3-20; Ex. 1, Mulligan Dep., 24:10-14, 25:1-9, 25:25, 26:1-4, 27:12-22].

          4.     Dr. Mulligan states that “[Dr. Malott] later attached an addendum to the 2017

  evaluation with additional comments.”

          Defendants’ Response: This is inaccurate. Dr. Malott completed the addendum to Dr.

  Mulligan’s 2017 evaluation at the same time as the rest of the evaluation. [Ex. 4, Mulligan Dep.,

  95:8-15.]




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  III.    STATEMENT OF MATERIAL FACTS NOT IN DISPUTE2

          A.     Dr. Mulligan’s Appointment at the University

          Dr. Mulligan began his appointment at the University on July 1, 2016 as a tenured Full

  Professor of Economics and dean of the SoBE at IUE. [Ex. 1, Mulligan Dep., 14:22-25, 15:1-3;

  Ex. 3, Original Appointment Letter.] For his tenured faculty position, the letter stated that his 12-

  month base salary for the 2016-17 fiscal year was $119,000.00. [Ex. 1, Mulligan Dep., 15:14-25,

  16:1; Ex. 3, Original Appointment Letter; Ex. 4, Malott Dep., 25:3-8 (explaining that the

  University follows a fiscal year of July 1st to June 30th).] The University also paid him an

  additional $21,000.00 administrative supplement to serve as dean. [Ex. 1, Mulligan Dep., 6:8-25,

  7:1-2; Ex. 3, Original Appointment Letter.] Dr. Mulligan’s original appointment letter explicitly

  stated that “[s]hould at some point in the future [he] no longer serve in the position of dean and

  return to a faculty position, [his] salary would be prorated to a standard ten (10) month faculty

  appointment.” [Ex. 1, Mulligan Dep., 16:2-7; Ex. 3, Original Appointment Letter.]

          As dean, Dr. Mulligan “serve[d] at the pleasure of the EVCAA [Executive Vice Chancellor

  of Academic Affairs]” Dr. Michelle Malott. [Ex. 2, September 21, 2017 Mulligan Email; see also

  Ex. 1, Mulligan Dep. 44:5-8; Ex. 4, Malott Dep. 106:7-10.] Dr. Mulligan admits that Dr. Malott

  was the “sole judge” of his performance. [Ex. 1, Mulligan Dep. 49:11-19.]

          On July 29, 2017, the University provided Dr. Mulligan a letter memorializing the increase

  in his salary to $142,800 for the 2017-18 academic year. [Ex. 5, July 29, 2017 Salary Letter; see

  also Ex. 1, Mulligan Dep., 7:13-21.] The letter included the explicit disclaimer that “[t]his letter




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     The following facts are supported by appropriate citations to depositions, deposition exhibits,
  and other admissible evidence as to which Defendants contend there are no genuine issues of
  material fact. The facts are viewed in the light most favorable for Dr. Mulligan as required by Fed.
  R. Civ. P. 56.

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  does not constitute a contract. It is for information only.” [Ex. 1, Mulligan Dep., 8:22-25, 9:1; Ex.

  5, July 29, 2017 Salary Letter.]

          B.     Dr. Mulligan’s Performance as Dean

          As dean, Dr. Mulligan had administrative responsibility for all aspects of the SoBE,

  including, but not limited to, faculty recruitment, development, and evaluation, program

  improvement, retention, and success, and other matters related to the continued well-being of the

  school and its faculty, staff, and students. [Ex. 4, Malott Dep. 100:21-25, 101:1-6; Ex. 3, Original

  Appointment Letter.] Dr. Mulligan was also responsible for performing other duties as assigned

  by his direct supervisor, Dr. Malott, and/or the Chancellor Dr. Kathryn Cruz-Uribe. [Ex. 3,

  Original Appointment Letter; Ex. 4, Malott Dep. 14:17-25, 15:1-6.]

          As EVCAA, Dr. Malott oversees all the units that provide academic instruction [Ex. 4,

  Malott Dep. 12:18-25, 13:1-5], and it is her responsibility to ensure the overall success and health

  of the academic operations of IUE [Id. at 86:8-22]. In her role, in consultation with Chancellor

  Cruz-Uribe, Dr. Malott has the authority to hire, fire, and discipline employees who report to her.

  [Id. at 15:16-24, 16:10-21.] Yet, Chancellor Cruz-Uribe still makes the ultimate decision on

  employment matters if she chooses. [Id. at16:17-21.]

          Throughout his appointment as dean, Dr. Malott and Dr. Mulligan routinely met to discuss

  Dr. Mulligan’s performance and “issues related to what was going on in the college.” [Ex. 1,

  Mulligan Dep. 23:18-25, 24:1-25.] Between Spring 2017 and Fall 2017, seven faculty members in

  the SoBE complained about Dr. Mulligan’s leadership. [Ex. 4, Malott Dep. 31:16-25, 32:1-25,

  33:1-25, 34:20-25, 35:1-12; Ex. 6, IUE’s Office of Affirmative Action Report.]

          One faculty member, April Savoy, complained that Dr. Mulligan was discriminating

  against her because of her recent pregnancy. Then, following a confrontation between a female



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  and male faculty member at a general faculty meeting in August 2017, three faculty members in

  the SoBE filed complaints with the IUE’s Office of Affirmative Action, the Office of Human

  Resources, Dr. Malott, and Chancellor Cruz-Uribe regarding Dr. Mulligan’s leadership as dean.

  [See Ex. 6, IUE’s Office of Affirmative Action Report; Ex. 1, Mulligan Dep. 23:1-15.] Based on

  those complaints, the IUE’s Office of Affirmative Action opened two Title IX investigations

  related to Dr. Mulligan’s leadership—an investigation into Dr. Savoy’s complaint that Dr.

  Mulligan was discriminating against her because of her recent pregnancy [Ex. 4, Malott Dep. 39:6-

  23, 63:10-16] and an investigation into a hostile work environment claim that stemmed from the

  August 2017 faculty meeting [Id. at 63:17-20; Ex. 6, IUE’s Office of Affirmative Action Report.].

          Pursuant to the applicable procedures,3 Tracy Amyx, Director of Affirmative Action,

  EEOC Officer & Deputy Title IX Coordinator, and Evelyn Gordon, Director of Human Resources,

  conducted interviews with six faculty members and Dr. Mulligan about the August 2017 faculty

  meeting. [Ex. 6, IUE’s Office of Affirmative Action Report.] Although Dr. Malott participated in

  the investigation, the Office of Affirmative Action and Human Resources are responsible for

  handling complaints of discrimination, not Dr. Malott or Chancellor Cruz-Uribe. [Ex. 4, Malott

  Dep. 47:13-25, 48:1-2, 65:23-25 (explaining that discrimination complaints are handled by the

  Office of Affirmative Action and Human Resources)].

          The interviewed faculty members expressed concerns about Dr. Mulligan’s “lack of

  leadership/professionalism,” “lack of collaboration with faculty,” “lack of communication,” and




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     IU Northwest Office of Affirmative Action & Employment Practices Complaint Procedure
  Guidelines: Discrimination and Harassment [Ex. 15, Affirmative Action Policy; Ex. 16, Email
  from Sharon Calhoon (explaining that IUE could use the IU Northwest procedures to investigate
  a complaint of discrimination because the procedures are the same across the University
  campuses); Ex. 4, Malott Dep. 62:6-22 (explaining that IUE has been working on updating its own
  policy but the procedures are the same across the University campuses).]

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  “possible implicit bias towards women.” [Ex. 6, IUE’s Office of Affirmative Action Report.] Two

  male faculty members also complained about the environment of the school and felt that the female

  faculty in the school were not being treated well. [Ex. 4, Malott Dep. 40:17-24.]

          Additionally, in Fall 2017, three faculty on the search committee for Dean of the School of

  Humanities and Social Sciences, which Dr. Mulligan was chairing, complained about Dr.

  Mulligan’s leadership skills. [Id. at 54:1-25, 55:1-2.] Specifically, they complained about Dr.

  Mulligan’s lack of communication, that they were doing his work for him, and that his lack of

  leadership as Chair would impact the success of the search. [Id.]

          C.     The University’s Decision to Remove Dr. Mulligan as Dean

          In August 2017, Dr. Malott communicated with Dr. Mulligan about the complaints and

  explained that he would need to participate in a Title IX investigation. [Id. at 44:8-25, 47:17-25,

  48:1-15.] Specifically, Dr. Malott and Dr. Mulligan discussed Dr. Savoy’s complaint [Id. at 44:8-

  25, 45:1-6, 64:3-20 (explaining that she spoke with Dr. Mulligan about Dr. Savoy’s complaint and

  the need to change her teaching schedule and he agreed to make the change).] Additionally, in

  September 2017 they met in person at least twice to discuss the faculty complaints about his

  leadership and his unsatisfactory performance as dean. [Id. at 51:19-25, 52:1-25.] Dr. Malott

  focused their meetings on how Dr. Mulligan could fix the culture and issues in the SoBE going

  forward. [Id. at 49:13-25, 50:1-2.]

          Later during the Fall 2017 semester, when it became apparent no positive change was

  forthcoming, Dr. Malott decided to remove Dr. Mulligan as dean because the SoBE needed to

  move forward with new leadership. [Id. at 70:17-22 (referring to Dr. Mulligan stating that “the

  leadership was lacking”), 99:5-22 (explaining that she first started thinking about removing Dr.

  Mulligan as dean late that fall semester).] Although there is no policy or procedure for removing



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  deans at Indiana University including its IUE campus [Ex. 7, Malott Declaration] because such

  administrators serve in an at-will capacity, Dr. Malott met with Chancellor Cruz-Uribe before

  notifying Dr. Mulligan of his removal [Ex. 4, Malott Dep. 80:18-25, 81:1-23]. After Dr. Malott

  explained her reasoning, Chancellor Cruz-Uribe agreed and supported the removal. [Id.]

          Dr. Malott met with Dr. Mulligan twice in December 2017. [Id. at 30:20-25, 31:1-15

  (explaining that she could not recall the exact dates but “[they] had two meetings in December”).]

  During the first meeting, she discussed Dr. Mulligan returning to the faculty full time and being

  removed as dean. [Id.] During the second meeting on December 14, 2017 [Ex. 1, Mulligan Dep.

  21:2-4 (testifying that he met with Dr. Malott on December 14, 2017)], Dr. Malott addressed the

  complaints and notified Dr. Mulligan that she was removing him as dean [Id. at 17:19-22, 21:2-

  25, 22:1].

          On January 3, 2018, Dr. Mulligan emailed the members of the Business Advisory Council

  stating that he and Dr. Malott had decided that he would be stepping down as dean to work on the

  Association to Advance Collegiate Schools of Business accreditation process full time. [Ex. 1,

  Mulligan Dep. 54:12-25; Ex. 8, January 3, 2018 Mulligan Email.] Although irrelevant to any

  actionable claim, Dr. Mulligan has no evidence or information that Chancellor Cruz-Uribe or Dr.

  Malott ever publicly disclosed that he was removed as dean. [Ex. 1, Mulligan Dep. 54:12-25,

  55:15-22 (testifying that until the filing of this lawsuit, it looked like he had stepped down as dean

  and that he has no evidence or information that Chancellor Cruz-Uribe or Dr. Malott ever publicly

  disclosed that he was removed as dean).] On February 11, 2018, Dr. Mulligan’s appointment as

  dean officially ended but, to this day, he remains a tenured Full Professor of Economics in the

  SoBE at IUE. [Id. at 17:16-18; Ex. 9, February 9, 2018 Malott Removal Letter.] Pursuant to the

  Faculty Members Holding Administrative Positions, ACA-08 policy [Ex. 10, ACA-08 Policy (“At



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  such time as a faculty member . . . is removed from the administrative position, the faculty

  member’s salary shall return to the faculty component of the salary and the faculty member shall

  no longer be entitled to the administrative component.”], beginning February 12, 2018, Dr.

  Mulligan’s salary was converted to a standard 10-month amount of $101,150, which reflected the

  removal of the administrative supplement he was given as dean [Ex. 9, February 9, 2018 Malott

  Removal Letter].

          In May 2018, Dr. Malott drafted Dr. Mulligan’s performance evaluation for the review

  period of January 2017 through December 2017. [Ex. 4, Malott Dep. 73:2-14 (explaining that

  “annual evaluations are done on a calendar basis”), 94:18-23.] Although Dr. Malott rated his

  overall performance as “Proficient,” she attached an addendum outlining the specific reasons Dr.

  Mulligan’s overall performance was “Inconsistent.” [Ex. 11, Mulligan 2017 Annual Review; see

  also Ex. 4, Malott Dep. 91:2-25, 92:1-9 (explaining that she rated Dr. Mulligan as “Proficient”

  overall so he could still be eligible for a merit pay increase with respect to his faculty, as distinct

  from his administrative, duties).]

          On July 30, 2018, Dr. Mulligan filed a complaint over his removal as dean with the IUE

  Faculty Board of Review (“FBR”). [Ex. 12, July 30, 2018 Dr. Mulligan complaint to the Indiana

  University East Faculty Board of Review.] Under the IUE Faculty Senate Policies and Procedures

  for the Faculty Board of Review at IUE, the FBR “has the responsibility to review cases involving

  actions of dismissal, reappointment, tenure, and other grievances concerning the nature and

  conditions of work, including academic freedom, promotion, salary, and reviews of Faculty.” [Ex.

  13, FBR Policy.] The FBR does not have the authority to review the removal of administrative

  positions because the policy only covers “Faculty” positions. [Ex. 7, Malott Declaration; Ex. 13,

  FBR Policy (explaining that even if the Board were to review the action, it cannot “override any



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  administrative decisions”).] Thus, on September 5, 2018, faculty member James Orman Barbre

  informed Dr. Mulligan that the FBR had met and determined that, based on the policy, Dr.

  Mulligan’s complaint was dismissed because the desired remedy was impossible to achieve. [Ex.

  14, Sept. 5, 2018 FBR Email.]

          D.     Dr. Mulligan’s Lawsuit against Defendants

          Dr. Mulligan filed this lawsuit on May 6, 2019. [Dkt. No. 1.] His complaint includes two

  claims—a violation of what he asserts are constitutionally protected due process interests pursuant

  to 42 U.S.C. § 1983 by defendants Chancellor Cruz-Uribe and Dr. Malott, and a breach of contract

  by the University. [See id.]

  IV.     LEGAL STANDARD FOR SUMMARY JUDGMENT

          Summary judgment is proper “if the movant shows that there is no genuine dispute as to

  any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

  56(a). Rule 56 mandates the entry of summary judgment against a party “who fails to make a

  showing sufficient to establish the existence of an element essential to that party’s case, and in

  which that party will bear the burden of proof at trial.” Celotex Corp. v. Catrett, 477 U.S. 317, 322

  (1986). “The mere existence of a scintilla of evidence in support of the [nonmovant’s] position

  will be insufficient; there must be evidence on which the jury could reasonably find for the

  [nonmovant].” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986).

  V.      ARGUMENT

          A.     Dr. Mulligan’s Claims are Barred by the Eleventh Amendment.

                 1. The University has sovereign immunity.4



  4
     It is unclear whether Dr. Mulligan is bringing his due process claim against the University or
  just against Chancellor Cruz-Uribe and Dr. Malott. Plaintiff’s Complaint states “Count I Violations
  of Fourteenth Amendment Procedural Due Process Rights by Defendants Cruz-Uribe & Malott,”

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          It is black-letter law that states and their agencies cannot be sued in federal court unless

  they unequivocally consent to suit or Congress unequivocally abrogates their Eleventh

  Amendment immunity pursuant to a valid exercise of power. See Gomez v. Ill. State Bd. of

  Educ., 811 F.2d 1030, 1036 (7th Cir. 1987). The Seventh Circuit has held that Section 1983 claims

  against state agencies are barred by the Eleventh Amendment because it was not abrogated by

  Congress in its enactment of this federal statute. See Rucker v. Higher Educ. Aids Bd., 669 F.2d

  1179, 1184 (7th Cir. 1982). The University is an “instrumentality” or “arm” of the State of Indiana

  for purposes of the Eleventh Amendment. Shannon v. Bepko, 684 F. Supp. 1465, 1470 (S.D. Ind.

  1988). In addition, the University has not waived immunity or otherwise consented to this lawsuit.

  See Ind. Code § 34-13-3-5(f); Shannon, 684 F. Supp. at 1470.

          Accordingly, Dr. Mulligan’s Section 1983 claim against the University is barred by the

  Eleventh Amendment. See also Bissessur v. Ind. Univ. Bd. of Trs., No. 1:07-CV-1290, SEB-WTL,

  2008 WL 4274451, *3 (S.D. Ind. Sept. 10, 2008) (dismissing Section 1983 claims against Indiana

  University due to Eleventh Amendment immunity).

          Moreover, because the University did not consent to suit in this Court on Dr. Mulligan’s

  state law breach-of-contract claim, it is also barred by the Eleventh Amendment. See Raygor v.

  Regents of Univ. of Minn., 534 U.S. 533, 547 (2002) (affirming dismissal of state law claims

  pursuant to Eleventh Amendment immunity); Hays v. Bonfiglio, No. 3:13-CV-197 PS, 2013 WL

  1629159, *1 (N.D. Ind. Apr. 15, 2013) (declining to exercise jurisdiction over a state constitutional

  claim as a result of Eleventh Amendment immunity). Accordingly, Dr. Mulligan cannot pursue

  any of his claims against the University due to Eleventh Amendment sovereign immunity.




  but Plaintiff continually refers to the collective “Defendants” throughout Count I. [Dkt. 1 at ¶¶ 26-
  29].

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                 2. Defendants Chancellor Cruz-Uribe and Dr. Malott have sovereign immunity
                    in their official capacities.

          The University’s immunity also extends to individuals “being sued in their ‘official

  capacities.’” Shannon, 684 F. Supp. at 1473-74; see also Zimmerman v. Bd. of Trs. of Ball State

  Univ., 940 F. Supp. 2d 875, 885 (S.D. Ind. 2013) (holding that Section 1983 claims for money

  damages against the defendants sued in their official capacities were barred by the Eleventh

  Amendment). One exception is that a plaintiff may sue individual state officials for “prospective

  injunctive relief to protect the plaintiff against any further or ongoing violation of his federal

  rights.” Bissessur, 2008 WL 4274451, at *3.5 Accordingly, Dr. Mulligan’s claims against

  Chancellor Cruz-Uribe and Dr. Malott in their official capacities for any relief other than

  prospective injunctive relief are barred.

                 3. Defendants Chancellor Cruz-Uribe and Dr. Malott have sovereign immunity
                    in their individual capacities.

          Dr. Mulligan asserts in his complaint that Chancellor Cruz-Uribe and Dr. Malott acted in

  their individual capacities alleging that they interfered with his property and liberty interests by

  failing to afford him with due process. [Dkt. No. 1 ¶ 26.] Dr. Mulligan’s claim, however, is not a

  “bona fide individual capacity suit.” Rather, it is inherently an official capacity claim and is,

  accordingly, barred by the Eleventh Amendment. As this Court stated in Wade v. Indiana

  University School of Med., claims against individual state employees are not bona fide individual

  capacity suits if: (1) the claims arise from the individuals’ conduct in their official capacities as

  employees of an arm of the state, (2) the individuals would not be facing plaintiff’s allegations if




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     This exception to the rule, however, extends only to the extent the plaintiff is seeking
  “prospective equitable relief” from individual defendants who are capable of providing such relief.
  See Nicol v. Lavin, No. 03 C 6688, 2004 WL 1881786, *5 (N.D. Ill. Aug. 13, 2004) (dismissing
  Section 1983 claim against an individual defendant who was incapable of reinstating the plaintiff).

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  they were not supervisors, and (3) their actions were undertaken in their official capacities as

  supervisors. No. 1:16-cv-02256-TWP-MJD, 2019 WL 3067519, *8, *8 n.1 (S.D. Ind. July 12,

  2019); see also Haynes v. Ind. Univ., 902 F.3d 724, 732 (7th Cir. 2018) (holding that a plaintiff

  cannot “seek monetary relief from state employees in their individual capacities if the suit

  ‘demonstrably has the identical effect as a suit against the state’”) (original emphasis; quoting

  Luder v. Endicott, 253 F.3d 1020, 1023-24 (7th Cir. 2001)); Omosegbon v. Wells, 335 F.3d 668,

  673 (7th Cir. 2003) (holding that claims against the individual defendants were not bona fide

  individual capacity suits when the plaintiff sought damages for constitutional claims arising out of

  an employment relationship).

          Here, Dr. Mulligan has not alleged a single claim against either Chancellor Cruz-Uribe or

  Dr. Malott for conduct taken by either of them individually as a person, separate and distinct from

  their roles as an administrator at IUE. Rather, Dr. Mulligan alleges that Chancellor Cruz-Uribe and

  Dr. Malott “failed to follow IU’s policies and procedures” “dictating the course of action for

  demotions.” [Dkt. No. 1 ¶ 18; see, e.g., Ex. 1, Mulligan Dep. 4:17-25, 5:1-16, 43:9-20 (“There are

  policies which Dr. Malott and Dr. Cruz-Uribe failed to follow, for example, in preparing my annual

  evaluation and appending a bunch of extraneous, untruthful, and defamatory material to it, and not

  following the university’s Title IX investigation policy . . .”]. The specific duties implicated in Dr.

  Mulligan’s claim—to follow applicable rules and procedures and conduct annual evaluations—

  arise directly out of Chancellor Cruz-Uribe’s and Dr. Malott’s administrative roles at IUE.

          Accordingly, because Dr. Mulligan has, in reality, asserted a claim against Chancellor

  Cruz-Uribe and Dr. Malott in their official capacities (as opposed to their individual capacities),

  all claims for money damages against them, as officials of the University, are barred by the

  Eleventh Amendment.



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                 4. Defendants Dr. Cruz-Uribe and Dr. Malott are also protected by qualified
                    immunity.

          “Qualified immunity is an affirmative defense to a Section 1983 constitutional tort claim

  against a government official who is being sued in his or her individual capacity.” Bissessur, 2008

  WL 4274451, at *3 (citing Eversole v. Steele, 59 F.3d 710, 717 (7th Cir. 1995)). The Court engages

  in a two-part inquiry to determine whether qualified immunity applies: (1) whether plaintiff

  asserted a violation of federal constitutional law; and (2) whether the constitutional standards

  implicated were clearly established at the time in question. Eversole, 59 F.3d at 717; see Colburn

  v. Trs. of Ind. Univ., 739 F. Supp. 1268, 1299 (S.D. Ind. 1990) (“[P]ublic officials performing

  discretionary functions are protected against suits for money damages unless their conduct violates

  clearly established statutory or constitutional rights of which a reasonable person would have

  known.”). “Although qualified immunity is often raised as a defense to a § 1983 action, it is the

  plaintiff who bears the burden of proof on the above two-part test.” Eversole, 59 F.3d at 717

  (citation omitted).

          Here, there is no evidence that Dr. Cruz-Uribe and Dr. Malott engaged in conduct that

  violated a clearly established due process right of Dr. Mulligan. Rather, as explained in further

  detail below, each individual properly performed her role in Dr. Mulligan’s removal as dean. More

  importantly, Dr. Mulligan has no property or liberty interest in an administrative position as dean,

  and Dr. Mulligan was provided notice and an opportunity to be heard before removal. As a result,

  the Defendants sued in their individual capacities are entitled to qualified immunity from Dr.

  Mulligan’s due process claims for money damages. See, e.g., Bissessur, 2008 WL 4274451, at *5

  (shielding individual defendants from liability for money damages where “[t]heir conduct was in

  every respect rationally related to the performance of their discretionary functions”).




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          B.     Dr. Mulligan’s Breach of Contract Claim Cannot Survive Summary
                 Judgment.

          As explained in Section V. A. I. supra, because the University did not consent to be sued

  in this Court on Dr. Mulligan’s state law breach of contract claim, that claim is barred by the

  Eleventh Amendment. See Raygor, 534 U.S. at 547 (affirming dismissal of state law claims

  pursuant to Eleventh Amendment immunity). However, even if not barred, the breach of contract

  claim fails as a matter of law.

                 1. The Original Appointment Letter was not for a Definite Term.

          Dr. Mulligan argues that the Original Appointment Letter constituted an employment

  contract for a definite term as to both his tenured professorship and his deanship. Indiana

  recognizes two basis forms of employment: (1) employment for a definite or ascertainable term;

  and (2) employment-at-will. Orr v. Westminster Vill. N., Inc., 689 N.E.2d 712, 717 (Ind. 1997).

  In Indiana, “the presumption of at-will employment is strong,” and the Indiana Supreme Court is

  reluctant to adopt broad and ill-defined exceptions to the employment-at-will doctrine. Moulton,

  150 F.3d at 805 (quoting Orr, 689 N.E.2d at 717). When no definite or ascertainable term of

  employment exists, an employee is considered an employee at will and may be terminated at any

  time, with or without cause. Id.

          Dr. Mulligan’s Original Appointment Letter was not an employment contract for a definite

  term because it fails to meet the necessary elements. Indiana requires an employment contract for

  a definite term to contain four elements in order to be valid and enforceable: 1) it must state the

  place of employment; 2) it must state the period of employment; 3) it must state the nature of the

  services the employee is to render; and 4) it must state the compensation the employee was to

  receive. Butts v. Oce-USA, Inc., 9 F. Supp. 2d 1007, 1011 (S.D. Ind. 1998) (citing Majd Pour v.

  Basic Am. Med., Inc., 512 N.E.2d 435, 439 (Ind. Ct. App. 1987)).


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          In this case, the Original Appointment Letter fails to state a definite period of employment.

  Dr. Mulligan argues the definite period of employment is the fiscal year 2016-17. However,

  “[s]tating compensation and other benefits in annual terms is both common and convenient, but

  does not necessarily mean that the employment is for a definite period of one year.” Bee Window,

  Inc., 716 N.E.2d at 501.

          In fact, neither Dr. Mulligan’s tenured professorship nor his deanship was for a one-year

  term. As Dr. Mulligan knew, his tenured professorship was not for one year, but rather was

  permanent unless he was removed for cause [Ex. 1, Mulligan Dep. 41:23-25]. Dr. Mulligan also

  knew that he served as dean, not for one year, but rather at the pleasure of the University [Ex. 1,

  Mulligan Dep. 44:5-8; Ex. 2, September 21, 2017 Mulligan Email], which he also knew meant that

  at any time he could be “dismissed for no reason” [Ex. 1, Mulligan Dep. 45:5-8]. Thus, it is clear

  that the Original Appointment Letter’s reference to the 2016-17 fiscal year was for the convenience

  of stating Dr. Mulligan’s rate of pay in terms of an annual salary and not an employment contract

  for a one-year period.

                 2. The Original Appointment Letter for Dr. Mulligan’s Deanship was not for a
                    Definite Term.

          Even assuming for the sake of argument that the Original Appointment Letter was for a

  definite term of the 2016-17 fiscal year for Dr. Mulligan’s tenured professorship, with respect to

  his duties as dean, the letter is explicitly open-ended in time and thus lacks an essential element of

  an employment contract for a definite term and to that extent is instead an at-will position. In the

  Original Appointment Letter, Dr. Cruz-Uribe wrote: “Should at some point in the future you no

  longer serve in the position of dean and return to a faculty position, your salary would be prorated

  to a standard ten (10) month faculty appointment.” This provision would be rendered meaningless




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  if Dr. Mulligan’s term as dean was for one year. Instead, as Dr. Mulligan knew, his employment

  as dean was at the pleasure of the University and thus was at will.

                 3. The July 29, 2017 Salary Letter did not Constitute a Contract.

          On July 29, 2017, the University provided Dr. Mulligan a letter memorializing an increase

  in Dr. Mulligan’s salary to $142,800 for the 2017-18 academic year. [Ex. 1, Mulligan Dep., 7: 13-

  21; Ex. 5, July 29, 2017 Salary Letter.] If somehow the Original Appointment Letter was unclear

  as to whether it provided Dr. Mulligan a definite term of employment, the 2017 Salary Letter

  eliminated any doubt by including the explicit disclaimer that “[t]his letter does not constitute a

  contract. It is for information only.” [Ex. 1, Mulligan Dep., 8:22-25, 9:1; Ex. 5, July 29, 2017

  Salary Letter.] Yet Dr. Mulligan argues the 2017 Salary Letter renewed and modified what he

  erroneously regards as his original one-year employment contract as dean for another year through

  the 2017-18 fiscal year. Again, however, “[s]alaries are typically measured in annual terms and

  doing so does not eliminate an employee’s at-will status.” Butts, 9 F. Supp. 2d at 1011. The 2017

  Salary Letter did nothing more than provide Dr. Mulligan notice of his pay raise set forth as an

  annual salary for the 2017-18 fiscal year. Any other interpretation would render meaningless the

  unambiguous statement that the letter did not constitute a contract and was for information only.

                 4. Dr. Mulligan Served as Dean at the Pleasure of the University.

          Dr. Mulligan admits he “served at the pleasure” of the University. [Ex. 1, Mulligan Dep.

  44:5-8; Ex. 2, September 21, 2017 Mulligan Email]. Dr. Malott agrees. [Ex. 4, Malott Dep. 106:5-

  10; Ex. 7, Malott Declaration.] Serving at the pleasure of the University means Dr. Mulligan was

  an at-will employee and could be removed at any time for any or no reason. See, e.g., Hilburt v.

  Town of Markleville, 649 N.E.2d 1036, 1039 (Ind. Ct. App. 1995) (A town “marshal serves at the

  pleasure of the town legislative body. This language indicates that the marshal is an employee at



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  will and further indicates that the marshal may be terminated or suspended at the legislative body's

  discretion.”)

          The Original Appointment Letter (for the fiscal year 2016-17) clearly distinguished Dr.

  Mulligan’s salary supplement as dean from his faculty salary and explicitly stated his overall salary

  would be reduced proportionally when he no longer served as dean. [See Section III. A., paragraph

  one, supra.] Finally, the salary notification he received on July 29, 2017, for the 2017-18 fiscal

  year, explicitly stated “[t]his letter does not constitute a contract. It is for information only” – a

  fact Dr. Mulligan admits. Thus, Dr. Mulligan received the full benefit of any promise made by the

  University with respect to his administrative position as dean, and therefore his claim of breach of

  contract fails as a matter of law.

                  5. University Policies Cannot Provide Dr. Mulligan Contractual Rights.

          Dr. Mulligan cannot claim that any policies of the University (previously referred to as the

  Academic Handbook, etc.) give him any contractual rights as these arguments have been

  repeatedly rejected by federal courts. See generally Packer v. Trs. of Ind. Univ. Sch. of Med., 73

  F. Supp. 3d 1030, 1040 (S.D. Ind. 2014) (holding that because the “Academic Handbook explicitly

  disclaims any creation of a contract,” stating in its preamble that “it does not create a contract and

  does not create any legal rights”, “[plaintiff] cannot rely upon these policies as a basis for her

  breach of contract claim.”); Lim v. Trs. of Ind. Univ., No. IP-99-0419-C-M/S, 2001 WL 1912634,

  *19 (S.D. Ind. Dec. 4, 2001) (“This disclaimer makes it clear that the University never intended

  the Handbook to form part of its contract[.]”).

          C.      Dr. Mulligan’s Due Process Claim Fails.

          Even if Dr. Mulligan’s due process claim is not barred by Eleventh Amendment and/or

  qualified immunity, his claim still fails as a matter of law.



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                 1. Legal Standard for Procedural Due Process Claims.

          “An essential principle of due process is that a deprivation of life, liberty, or property ‘be

  preceded by notice and opportunity for hearing appropriate to the nature of the case.’” Cleveland

  Bd. of Educ. v. Loudermill, 470 U.S. 532, 542 (1985) (quoting Mullane v. Central Hanover Bank

  & Trust Co., 339 U.S. 306, 313 (1950)). “Due process is a flexible concept that ‘calls for such

  procedural protections as the particular situation demands.’” Pugel v. Bd. of Trs. of Univ. of Ill.,

  378 F.3d 659, 663 (7th Cir. 2004) (citations omitted).

                 2. Dr. Mulligan does not have a protectable property interest in continued
                    employment as Dean.

          The first part of a due process analysis involves a determination of “whether the plaintiff

  was deprived of a protected interest,” such as a property interest. Id. at 662. “The Fourteenth

  Amendment’s procedural protection of property is a safeguard of the security interests that a

  person has already acquired in specific benefits. These interests—property interests—may take

  many forms.” Bd. of Regents of State Colls. v. Roth, 408 U.S. 564, 576 (1972). Employees have a

  property interest only when they have a legitimate claim of entitlement, usually arising by statute

  or contract. Lalvani v. Cook Cnty., 269 F.3d 785, 791 (7th Cir. 2001). Public employees who serve

  only “at will” or at the pleasure of their employers may have a desire in continued employment

  but they do not have a property interest. Id.

          In his complaint, Dr. Mulligan alleges that Chancellor Cruz-Uribe and Dr. Malott failed to

  provide him with adequate notice of his removal as dean and did not provide him with the reason

  for removal. [Dkt. No. 1 ¶ 16.] Thus, Dr. Mulligan contends that he did not have an opportunity to

  present evidence or to be heard. [Dkt. No. 1 ¶ 17.] He also alleges that Chancellor Cruz-Uribe and

  Dr. Malott failed to follow the University’s policies and procedures. [Dkt. No. 1 ¶ 18.]




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          As noted above, Dr. Mulligan was removed only from his administrative role as dean. He

  remains employed by the University as a tenured faculty member. [Ex. 1, Mulligan Dep., 17:16-

  18; Ex. 9, February 9, 2018 Malott Removal Letter.] As set forth above and explained in the

  Original Appointment Letter, [Ex. 3, Mulligan’s Original Appointment Letter; Ex. 4, Malott Dep.

  106:7-10] and by his own admission, deans serve at the pleasure of the University [Ex. 1, Mulligan

  Dep. 44:5-8; Ex. 2, September 21, 2017 Mulligan Email]. With respect to Dr. Mulligan’s

  administrative role as dean,6 he was an employee at will, and “an employee at will has no property

  interest in further employment.” Moulton, 150 F.3d at 804 (citing Ind. Alcoholic Beverage

  Comm'n, 405 N.E.2d at 589 (“An employee at will is not entitled to the procedural protections . .

  . attached to a property interest.”)). Thus, Dr. Mulligan’s appointment as dean cannot form the

  basis for a due process claim as he does not have the requisite property interest in continued

  employment. See also Knox v. Trs. of Ind. Univ., 160 F. Supp. 3d 1073, 1076 (N.D. Ind. 2016)

  (“Plaintiff did not have a protected property interest in his employment because he served at the

  will of the board of trustees of Indiana University . . . .”).

                  3. Dr. Mulligan does not have a protectable liberty interest in continued
                     employment as Dean.

          Dr. Mulligan asserted in his complaint that Defendants interfered with his liberty interests

  by failing to afford him due process. However, he makes no such argument in his memorandum

  in support of his motion for summary judgment. To the extent Dr. Mulligan has not otherwise

  dispensed with his liberty claim, it nonetheless fails.



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    Although not at issue in this case, the university does not concede as a general matter that any
  of its faculty are contract employees—as distinct from employees at will subject to elaborate
  internal procedures and protections—regardless of whether they also serve in an administrative
  capacity. Here, the only issue is the nature of Dr. Mulligan’s administrative appointment as dean
  and whether it confers any contractual or due process interests. The Defendants maintain it does
  not.

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            A government employee's liberty interests are implicated where, in terminating the

  employee, the government “make[s] any charge against him that might seriously damage his

  standing and associations in the community” or “impose[s] on him a stigma or other disability that

  foreclose[s] his freedom to take advantage of other employment opportunities.” Roth, 408 U.S. at

  573. The Seventh Circuit has recognized that a liberty interest is impaired if the government injures

  the employee’s “good name, reputation, honor or integrity, or imposes a stigma that effectively

  forecloses the employee’s future employment opportunities.” Ratliff v. City of Milwaukee, 795

  F.2d 612, 625 (7th Cir. 1986) (internal citations and quotations omitted). However, absent proof

  that the government employer “disseminated the stigmatizing information in a manner which

  would reach future potential employers of the plaintiff or the community at large, [he] cannot show

  that the defendant['s] actions impinged on [his] liberty interest in pursuing [his] occupation.” Id.

  at 627.

            Here, Dr. Mulligan admitted that his removal as dean was never publicly disclosed by

  Defendants. [Ex. 1, Mulligan Dep. 54:12-25, 55:15-22 (testifying that until the filing of this

  lawsuit, it looked like he had stepped down as dean), see also Ex. 8, January 3, 2018 Mulligan

  Email (explaining that he and Dr. Malott had decided he would step down as dean to work on the

  accreditation process).] Dr. Mulligan even retained his employment as a tenured professor at IUE.

  [Ex. 1, Mulligan Dep., 17:16-18; Ex. 9, February 9, 2018 Malott Removal Letter.]

            Further, to the extent that Dr. Mulligan is alleging that his 2017 annual evaluation

  constitutes public disclosure, his evaluation was not publicly disclosed by the University, but only

  given to Dr. Mulligan himself. [Ex. 4, Malott Dep. 95:8-25, 96:1-20.] His argument that he was

  given an overall performance rating of “Inconsistent” cannot form the basis of his liberty interest

  claim. See Johnson v. Martin, 943 F.2d 15, 17 (7th Cir. 1991) (“The plain fact is that the mere



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  existence of damaging information in Johnson’s personnel file cannot give rise to

  a due process challenge.”). Thus, because he cannot establish that he had a protectable liberty

  interest in his continued employment as dean, Dr. Mulligan’s due process claim fails. Franklin v.

  City of Evanston, 384 F.3d 838, 845 (7th Cir. 2004) (holding that plaintiff did not have a protected

  liberty interest because he presented no evidence that the City publicly disseminated the reason for

  his termination).

                 4. Dr. Mulligan received all the process due to him.

          Even if for the sake of argument only Dr. Mulligan were to establish that he has a protected

  property or liberty interest in the deanship, which he cannot, his claim still fails. The United States

  Supreme Court has held that “[t]he essential requirements of due process . . . are notice and an

  opportunity to respond.” Cleveland Bd. of Educ., 470 U.S. at 546. In the context of the termination

  of a university professor, the United States Supreme Court has held:

          [t]he essential requirements of due process . . . are notice and an opportunity to
          respond. The opportunity to present reasons, either in person or in writing, why
          proposed action should not be taken is a fundamental due process requirement. The
          tenured public employee is entitled to oral or written notice of the charges against
          him, an explanation of the employer’s evidence, and an opportunity to present his
          side of the story. To require more than this prior to termination would intrude to an
          unwarranted extent on the government’s interest in quickly removing an
          unsatisfactory employee.

          Id. at 546 (citations omitted). The opportunity to be heard “need not be elaborate.” Id. at

  545. “To require more than this prior to termination would intrude to an unwarranted extent on the

  government’s interest in quickly removing an unsatisfactory employee.” Id. at 546. “[A]s long as

  the process is reasonably transparent and fair and affords the subject an opportunity to respond . .

  . the ultimate issue focuses less on the particular process and more on the recognition of the

  institution’s interest in assuring a proper educational environment.” Grant v. Trs. of Ind. Univ.,




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  No. 1:13-cv-826-TWP-DML, 2016 WL 1222344, *11 (S.D. Ind. Mar. 28, 2016) (quoting Hartman

  v. Keri, 883 N.E.2d 774, 777-78 (Ind. 2008)).

          Here, it is undisputed that Dr. Malott repeatedly informed Dr. Mulligan of the concerns

  about his performance and leadership and gave him an opportunity to respond prior to his removal.

  Dr. Malott met with Dr. Mulligan several times before his removal to discuss his performance and

  give him the opportunity to explain and respond to those deficiencies. [See Ex. 4, Malott Dep.

  44:8-25, 47:17-25, 48:1-15 (explaining that she spoke to him in August 2017 in an email or phone

  call about the complaints and the investigation), 49:1-25, 50:1-2 (explaining that she met with him

  in person at least twice in September 2017 and focused their meetings on how Dr. Mulligan could

  fix the culture and issues in the SoBE), 17:19-22, 21:2-25, 22:1, 30:20-25, 31:1-15 (explaining

  that she met with him at least twice in December 2017 to discuss the complaints).] Despite Dr.

  Mulligan’s bald statements that Dr. Malott did not inform him of the reasons he was being removed

  as dean [Ex. 1, Mulligan Dep. 21:25, 22:1-3], Dr. Mulligan admitted that Dr. Malott made him

  aware of the complaints against him and acknowledged participating in and providing information

  in response to a Title IX investigation [See id. at 24:10-14 (“[Dr. Malott] intimated to me that there

  were concerns”), 25:1-9 (“I got the impression that everybody in the school is complaining about

  me”), 25:25, 26:1-4 (“[Dr. Malott] called me to her office to discuss . . . what’s going on in the

  college”), 27:12-22 (“I had the impression there was an investigation. I participated in the

  investigation, I gave information.”)].

          Accordingly, there is no question that Dr. Mulligan was afforded adequate due process

  prior to his removal as dean. See Cleveland Bd. of Educ., 470 U.S. at 546 (1985) (“The tenured

  public employee is entitled to oral or written notice of the charges against him, an explanation of

  the employer’s evidence, and an opportunity to present his side of the story.”); see also Loudermill



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  v. Cleveland Bd. of Educ., 844 F.2d 304, 311 (6th Cir. 1988) (informal meeting between employee

  and supervisor satisfied requirements for pre-termination due process).

                 5. Dr. Mulligan has no federally protected right in University procedures, and
                    therefore, any alleged deviation cannot form the basis of his due process
                    claims.

          In his complaint, but tellingly not in his memorandum in support of his motion for summary

  judgment, Dr. Mulligan alleges that Chancellor Cruz-Uribe and Dr. Malott “failed to follow [the

  University’s] policies and procedures” “dictating the course of action” for the removal of deans.

  [Dkt. No. 1 ¶ 18; Ex. 1, Mulligan Dep. 43:9-20.] Yet, there are no policies and procedures for

  removing a dean since deans and other administrators serve at the pleasure of senior university

  administrators. [Ex. 4, Malott Dep. 106:5-10; Ex. 7, Malott Declaration.] And despite alleging that

  such a policy exists, Dr. Mulligan has produced no such written policy, instead, testifying that the

  requirement that Dr. Malott “apply reasonable and objective criteria” to his removal is just

  “common sense.” [Ex. 1, Mulligan Dep. 5:10-25, 6:1-7, 49:17-25, 50:1-9.] Rather, as Dr. Mulligan

  stated, deans “serve at the pleasure of the EVCAA,” and Dr. Malott was the “sole judge” of his

  performance as dean. [Id. at 44:5-8, 49:17-19; Ex. 2, September 21, 2017 Mulligan Email.] Thus,

  if she wanted, Dr. Malott could “dismiss[] [Dr. Mulligan] for no reason.” [Ex. 1, Mulligan Dep.

  45:5-8.]

          Since a removal policy does not exist, Dr. Mulligan attempts to fashion a due process

  violation by alleging that Chancellor Cruz-Uribe and Dr. Malott violated the annual evaluation

  process by retroactively evaluating him, failed to follow the FBR procedure to give him a hearing

  to review his dismissal, and failed to follow the University’s Title IX investigation policy. [Id. at

  43:9-20, 46:2-18.] First, as explained above, annual evaluations are conducted on a calendar year

  basis, so Dr. Malott properly evaluated Dr. Mulligan during the following spring semester. [Ex. 4,



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  Malott Dep. 73:2-14 (explaining that “annual evaluations are done on a calendar basis”), 94:18-

  23.] Second, under the FBR policy, the FBR only has the authority to review issues with faculty

  positions, not administrative positions. [Ex. 13, FBR Policy; Ex. 7, Malott Declaration.] Third, the

  Office of Affirmative Action and Human Resources conducted two investigations into the

  complaints and interviewed Dr. Mulligan for information. [Ex. 6, IUE’s Office of Affirmative

  Action Report; Ex. 1, Mulligan Dep. 27:12-22 (“I had the impression there was an investigation. I

  participated in the investigation, I gave information.”).] Finally, Chancellor Cruz-Uribe and Dr.

  Malott are not responsible for implementing the FBR policy or the Affirmative Action Policy. [Ex.

  7, Malott Declaration; Ex. 4, Malott Dep. 47:13-25, 48:1-2, 65:23-25 (explaining that

  discrimination complaints are handled by the Office of Affirmative Action and Human

  Resources).]

          There is no evidence that Chancellor Cruz-Uribe and Dr. Malott failed to follow any of the

  University’s policies or procedures in the decision to remove Dr. Mulligan as dean. However, even

  if the Court finds they did not adhere to the University’s policies, that alone would not support Dr.

  Mulligan’s due process claim. To the extent any alleged deviations from policy form the basis for

  Dr. Mulligan’s due process claim, such a claim fails because “a plaintiff does not have a federal

  constitutional right to state-mandated process.” Charleston v. Bd. of Trs. of Univ. of Ill. at Chi.,

  741 F.3d 769, 773 (7th Cir. 2013) (“It may have been unfair for the university not to follow its

  own procedures in [plaintiff’s] case, but it was not unconstitutional.”); see Park v. Ind. Univ. Sch.

  of Dentistry, 692 F.3d 828, 832 (7th Cir. 2012) (“the federal Constitution’s due process clause

  does not protect an interest in other process”) (citation omitted).

          As a result, even if only for the sake of argument the court were to find that the University

  or its officials failed to follow university policy, deviations from policy cannot form the basis of a



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  constitutionally protected due process claim. See Osteen v. Henley, 13 F.3d 221, 225 (7th Cir.

  1993) (“As we tirelessly but unavailingly remind counsel in this court, a violation of state law (for

  purposes of this case the student judicial code may be treated as state law) is not a denial of due

  process, even if the state law confers a procedural right.”) (emphasis added); see also Pugel, 378

  F.3d at 666 (stating that a violation of the university’s policies during a hearing “is not necessarily

  a violation of due process”); Hill v. Trs. of Ind. Univ., 537 F.2d 248, 250-52 (7th Cir. 1976) (stating

  that a student received all the process he was due under the university’s procedures, even though

  the university failed to comply in full with its own procedures); Grant, 2016 WL 1222344, at *10

  (dismissing the “argument that [plaintiff] was denied federally protected due process rights

  because IUSB did not follow the procedures within the IU Handbook” because “the Seventh

  Circuit has repeatedly held that a state-created university process does not confer federal due

  process rights”) (citations omitted). Accordingly, Dr. Mulligan’s due process claim fails.

  VI.     CONCLUSION

          For the foregoing reasons, Defendants respectfully move the Court to enter an order (1)

  denying Plaintiff’s Motion for Summary Judgment; and (2) granting Defendants’ Cross-Motion

  for Summary Judgment.

                                                  Respectfully submitted,

                                                  James R. A. Dawson
                                                  Michael C. Terrell, #2124-49
                                                  James R. A. Dawson, # 20086-49
                                                  Melissa A. Macchia, #29920-49
                                                  Erica M. Knear, #35028-53
                                                  Taft Stettinius & Hollister LLP
                                                  One Indiana Square, Suite 3500
                                                  Indianapolis, IN 46204
                                                  (317) 713-3500 – telephone
                                                  (317) 713-3699 – fax
                                                  mterrell@taftlaw.com
                                                  jdawson@taftlaw.com


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                                      mmacchia@taftlaw.com
                                      eknear@taftlaw.com

                                      Counsel for Defendants




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